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                       UNITED STATES DISTRICT COURT FOR THE
                           SO U THERN DISTRICT O F FLO RID A
                         CaseNum ber:17-24380-CIV-M O RENO

 ESTHER VEN TUM DE RENDON andJUAN
 M A RIA REN D ON G U TIERREZ,

               Petitioners,
 V S.

 VIVIANE VENTUM and M ICHAEL D.
 VENTUM ,

               Respondents.
                                              /
          O RD ER A D O PTIN G M A G ISTR ATE JU D G E L O U IS'S R EPO R T A N D
                                 R EC O M M EN DA TIO N

        THE M ATTER wasreferred to theHonorable Lauren F.Louis,United StatesM agistrate

 Judge,foraReportand Recommendationon Petition to Contirm theArbitralAward (D.E.1-3).
 TheM agistrateJudgefiled aReportand Recommendation (D.E.49)on Auzust8.2018. The
 Courthasreviewed theentire file and record. The Courthasm adea denovo review ofthe issues

 thatthe objectionsto the M agistrate Judge's Reportand Recommendation present,and being
 otherwisefully advised in thepremises,itis

        ADJUDG ED that United States M agistrate Judge Lauren F. Louis's Report and

 Recom m endation is A FFIR M ED and A D O PTED . A ccordingly,itis

        ADJUDGED that the Petition to Confirm the Arbitral Award is GRANTED.

 Respondents'principal objection is thatthe ArbitralAward is invalid under the New York
 Convention ArticlesV(1)(a)and V(1)(d)becausetheappointed arbitratorswerenotColombian
 nationals. Respondents claim that the appointm ent of foreign arbitrators is contrary to the

 parties'agreementto adomesticarbitration. Thisobjection iswithoutmeritbecausetheparties
 agreed to be bound by the lnternational Cham ber of Com m erce Rules,w hich provides for the
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  appointmtntofarbitratorsbythatbody.The Respondents'argumentthatColom bian 1aw should
  have applied to decide the param eters of this arbitration is inconsistent with the parties'

  agreement. Therefore,the objection doesnotprovide a basisfordeclaring the arbitralaward
  invalid underthe Convention.

          Respondentsalso objectthatthearbitralpanelexceeded itsauthority because itdenied
  them an opportunity to presenttheircounterclaim , which soughtto find the parties'settlem ent

  agreem entnulland void due to fraud orm istake. This counterclaim was originally included in

  theterm sofreference,butthen laterwithdrawn by Respondents. Respondents'argum entisthat

 thearbitralawardinappropriately adjudicatesthewithdrawn counterclaim whenitstatesthatdtin
 thisarbitration,itis notdem onstrated the existence ofan illicitcause in the subscription ofthe

 Settlem entA greem ent.'' In Respondents'view , thisstatementconstitutesan adjudication ofthe

 counterclaim . The Court agrees w ith the Report and Recom m endation that the Respondents

 have notm ettheirburden on thisissue.A lthough thearbitraltribunalnoted the lack ofevidence

 on the counterclaim ,italso expressly stated in the award thatwithdrawalofthe counterclaim was

 accepted withoutprejudice,allowing such claimstoproceed inafuturearbitration.SeeArbitral
 Award(D.E.1-13at!59).
         Respondents'final objection is thatthe award violates public policy because it was
 procuredbyfraud.Intheirobjections,theRespondentsprovideaconclusory statementthatthey
 were defrauded. Thisstatem entisinsufficientto m eetthe burden thatthisarbitralaward isvoid

 asagainstpublicpolicyasrequiredbytheNew YorkConventionArticleV(2)(b).
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         D ON E AN D OR DER ED in Cham bers at M iam i, Florida,this             of September
 2018.

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;        Unlted States aglstrate Judge Lauren F.Louls
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